Case 21-30589-MBK   Doc 2509-1 Filed 06/15/22 Entered 06/15/22 14:49:15   Desc
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                                 EXHIBIT A

                               Retention Order




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          UNITED STATES BANKRUPTCY COURT
          DISTRICT OF NEW JERSEY
          WOLLMUTH MAHER & DEUTSCH LLP                                                    Order Filed on April 6, 2022
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          500 Fifth Avenue                                                                U.S. Bankruptcy Court
          New York, New York 10110                                                        District of New Jersey
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          (Admitted pro hac vice)
          ATTORNEYS FOR DEBTOR
          In re:                                                          Chapter 11

          LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589 (MBK)
                                      Debtor.                             Judge: Michael B. Kaplan
                                                                          Hearing Date:
                                                                          March 30, 2022 at 10:00 a.m.

                                ORDER AUTHORIZING RETENTION OF
                          ORRICK, HERRINGTON & SUTCLIFFE LLP AS SPECIAL
                        APPELLATE COUNSEL, EFFECTIVE AS OF OCTOBER 14, 2021

          The relief set forth on the following pages, numbered two (2) through three (3), is hereby
      ORDERED.

DATED: April 6, 2022




      1
                   The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
                   501 George Street, New Brunswick, New Jersey 08933.
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  Debtor: LTL Management LLC
  Case No. 21-30589-MBK
  Caption: Order Authorizing Retention of Orrick, Herrington & Sutcliffe LLP as Special
  Appellate Counsel, Effective as of October 14, 2021

          Upon the applicant’s, LTL Management LLC (the “Debtor”), request for authorization to
  retain Orrick, Herrington & Sutcliffe LLP (“Orrick”) as special appellate counsel to the Debtor,
  effective as of October 14, 2021, it is hereby ORDERED:

  1.      The Application is Granted in its entirety as set forth below.

  2.      Pursuant to section 327(e) of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016
          and Local Bankruptcy Rules 2014-1 and 2016-1, the Debtor is authorized to employ and
          retain Orrick as its special appellate counsel in the Chapter 11 Case to provide the
          services described in the Application effective as of October 14, 2021.

  3.      Orrick shall file monthly, interim and final fee requests for allowance of compensation
          and reimbursement of expenses pursuant to the procedures set forth in sections 330 and
          331 of the Bankruptcy Code, applicable Bankruptcy Rules and the Local Bankruptcy
          Rules, the U.S. Trustee Guidelines (as defined below), and any other applicable
          procedures and orders of this Court, including any order approving interim compensation
          procedures. The rights of all parties in interest with respect to any such fee requests are
          fully preserved.

  4.      If the professional requested a waiver as noted below, it is ☐ Granted ☐ Denied.

          ☐ Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR 2016-1.
          ☐ Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1 in a
          chapter 13 case. Payment to the professional may only be made after satisfactory
          completion of services.

  5.      Orrick shall bill only 50% for its services for non-working travel.

  6.      Orrick shall not seek reimbursement of any fees or costs, including attorney fees and
          costs, arising from the defense of any of Orrick’s fee applications in this case.

  7.      Orrick will agree to make a reasonable effort to comply with the U.S. Trustee’s requests
          for information and additional disclosures as set forth in the Guidelines for Reviewing
          Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.
          § 330 by Attorneys in Larger Chapter 11 Cases effective as of November 1, 2013
          (the “U.S. Trustee Guidelines”).




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  Debtor: LTL Management LLC
  Case No. 21-30589-MBK
  Caption: Order Authorizing Retention of Orrick, Herrington & Sutcliffe LLP as Special
  Appellate Counsel, Effective as of October 14, 2021

  8.      Orrick will use the billing and expense categories set forth in the U.S. Trustee Guidelines
          (Exhibit D-1 “Summary of Compensation Requested by Project Category”).

  9.      Orrick shall provide any and all monthly fee statements, interim fee applications, and
          final fee applications in “LEDES” format to the U.S. Trustee.

  10.     All parties-in-interest have the right to object to any allocation of fees and expenses as
          between the Debtor and J&J.

  11.     Notwithstanding anything to the contrary in the Standard Terms of Engagement attached
          to the Engagement Letter, the third paragraph of section 6 of the Standard Terms of
          Engagement attached to the Engagement Letter shall have no force and effect during the
          pendency of the Chapter 11 Case.

  12.     Notwithstanding anything to the contrary in section 11 of the Standard Terms of
          Engagement attached to the Engagement Letter, the Bankruptcy Court shall hear and
          adjudicate any fee disputes arising between Orrick and the Debtor during the pendency of
          the Chapter 11 Case.

  13.     To the extent that any party-in-interest including any official committee(s) of talc
          claimants appointed in this Chapter 11 Case (the “Committee”), and the U.S. Trustee,
          discovers any facts or circumstances indicating that Orrick’s retention under
          section 327(e) of the Bankruptcy Code is not appropriate, Orrick holds or represents an
          interest adverse to the Debtor or its estate with respect to the matters for which Orrick is
          retained, or Orrick is acting outside the scope of the matters for which it was retained, the
          right of any party-in-interest, the Committee and the U.S. Trustee to seek at that time any
          appropriate relief is fully preserved.




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